                          UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                 CRIMINAL NO. 22-92-JWD-RLB

VERSUS                                                   JUDGE JOHN W. DEGRAVELLES

ANTONIO FELIPE BELDA
a.k.a. “Tony Belda”
                                          ORDER
       Before the Court is a Motion to Continue Re-Arraignment filed by the Defendant Antonio

Felipe Belda.

       Having considered the Motion to Continue Re-Arraignment, and the reasons stated

herein, IT IS HEREBY ORDERED that the motion is GRANTED and that the

RE-ARRAIGNMENT in the above-captioned matter is continued from November 20, 2024 to

_______, _____, 202_ at __ __.M.



       BATON ROUGE, LOUISIANA, this ____ day of November, 2024

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                                   HONORABLE JOHN W. DEGRAVELLES
                                   UNITED STATES DISTRICT JUDGE
